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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION

 MENOH MBIPERWOH ERNEST                                      CIVIL ACTION NO. 20-0775

                                                             SECTION P
 VS.
                                                             JUDGE TERRY A. DOUGHTY

 U.S. DEPT. OF HOMELAND SECURITY, ET AL.                     MAG. JUDGE KAREN L. HAYES


                         ORDER SETTING EVIDENTIARY HEARING

        Petitioner Menoh Mbiperwoh Ernest, a detainee in the custody of the Department of

 Homeland Security (“DHS”) and the Bureau of Immigration and Customs Enforcement (“ICE”)

 who proceeds pro se, petitions the Court for a writ of habeas corpus under 28 U.S.C. § 2241.

 Petitioner is detained at Richwood Correctional Center (“RCC”). He seeks release from

 confinement, claiming (1) “overstay in detention”; (2) he suffers from depression, he had a

 seizure, and he is a “high blood patient”; and (3) he contracted a virus, Covid-19, and he is

 vulnerable to its effects due to his health conditions.

        Following a review of the parties’ filings, both questions of fact and genuine disputes of

 material fact remain.

        Accordingly, IT IS ORDERED that an evidentiary hearing will be held in this action

 before Magistrate Judge Karen L. Hayes on December 1, 2020, at 10:00 a.m., by Zoom video

 teleconference. The hearing will be a complete hearing of all witnesses and evidence to be

 presented by all parties concerning Petitioner’s “overstay in detention” claim. Following this

 hearing, the undersigned will make findings of fact, including credibility determinations, and

 issue a report and recommendation to the district judge.
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          IT IS FURTHER ORDERED that Attorney Shelley Goff, through the Office of the

 Federal Public Defender for the Western District of Louisiana, is appointed to represent

 Petitioner at the hearing under to Rule 8(c) of the Federal Habeas Corpus Rules and 18 U.S.C. §

 3006A.

          IT IS FURTHER ORDERED that, no later than November 24, 2020, each party shall file

 a pre-trial statement, identifying any issues of fact and law, witnesses to be called at the hearing,

 and exhibits to be introduced into evidence. Each exhibit listed in the memorandum shall be

 described sufficiently so that it can be identified as the listed item at the time of the hearing.

 Copies of all exhibits that are capable of being reproduced shall be provided by each party to

 his/her opponent no later than November 17, 2020. If the authenticity of any such exhibit is

 disputed, a list of the disputed exhibits, and the reason for the dispute, shall be included with the

 pre-trial statement. No exhibit or witness (except those used for impeachment purposes) shall be

 used at the hearing over objection unless listed in the pretrial memoranda, except for good cause

 shown. A party may call a witness listed by another party, but a party cannot rely on another

 party to have a particular witness at the hearing. Rule 45 of the Federal Rules of Civil Procedure

 must be followed with regard to the subpoenaing of witnesses or documentary evidence to the

 hearing.

          IT IS FURTHER ORDERED that the Clerk of Court send copies of this Order to

 Petitioner, all counsel of record, and the Warden of Richwood Correctional Center.

          In Chambers, Monroe, Louisiana, this 29th day of September, 2020.




                                                         Karen L. Hayes
                                                          United States Magistrate Judge

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